Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.375 Page 1 of 6
Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.376 Page 2 of 6
Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.377 Page 3 of 6
Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.378 Page 4 of 6
Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.379 Page 5 of 6
Case 2:10-cr-06026-RHW   ECF No. 133   filed 04/08/11   PageID.380 Page 6 of 6
